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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
Vv. : GRAND JURY ORIGINAL
JAMES ROBERT ELLIOTT, : VIOLATIONS:
also known as “Jim Bob,” : 18 U.S.C. § 231(a)(3)
: (Civil Disorder)
Defendant. : 18 U.S.C. §§ 111(a)(1) and (b)

(Assaulting, Resisting, or Impeding
Certain Officers Using a Deadly or
Dangerous Weapon)

18 U.S.C. §§ 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. §§ 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. §§ 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly and Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, JAMES ROBERT
ELLIOTT, also known as “Jim Bob,” committed and attempted to commit an act to obstruct,

impede, and interfere with a law enforcement officer, lawfully engaged in the lawful performance
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of his/her official duties incident to and during the commission of a civil disorder which in any
way and degree obstructed, delayed, and adversely affected commerce and the movement of any
article and commodity in commerce and the conduct and performance of any federally protected
function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia, JAMES ROBERT
ELLIOTT, also known as “Jim Bob,” using a deadly and dangerous weapon, that is, a flagpole,
did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee
of the United States, and of any branch of the United States Government (including any member
of the uniformed services), and any person assisting such an officer and employee ,while such
officer or employee was engaged in or on account of the performance of official duties, and where
the acts in violation of this section involve physical contact with the victim and the intent to commit
another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Deadly or Dangerous
Weapon, in violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT THREE
On or about January 6, 2021, within the District of Columbia, JAMES ROBERT
ELLIOTT, also known as “Jim Bob,” did knowingly enter and remain in a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States

Capitol and its grounds, where the Vice President was temporarily visiting, without lawful
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authority to do so, and, during and in relation to the offense, did use and carry a deadly and
dangerous weapon, that is, a flagpole.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b))(A))
COUNT FOUR

On or about January 6, 2021, within the District of Columbia, JAMES ROBERT
ELLIOTT, also known as “Jim Bob,” did knowingly, and with intent to impede and disrupt the
orderly conduct of Government business and official functions, engage in disorderly and disruptive
conduct in and within such proximity to, a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President was temporarily visiting, when and so that such conduct did in fact impede and
disrupt the orderly conduct of Government business and official functions and, during and in
relation to the offense, did use and carry a deadly and dangerous weapon, that is, a flagpole.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section

1752(a)(2) and (b)(1)(A))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, JAMES ROBERT
ELLIOTT, also known as “Jim Bob,” did knowingly, engage in any act of physical violence
against any person and property in a restricted building and grounds, that is, any posted, cordoned-
off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was temporarily visiting, and, during and in relation to the offense, did use and carry a

deadly and dangerous weapon, that is, a flagpole.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4))
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COUNT SIX
On or about January 6, 2021, within the District of Columbia, JAMES ROBERT
ELLIOTT, also known as “Jim Bob,” willfully and knowingly engaged in an act of physical
violence within the United States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.
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Attorney of the United States in
and for the District of Columbia.
